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16 Attorneys for Plaintiffs and Proposed Class Counsel

17
                              UNITED STATES DISTRICT COURT
18
               NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION
19
   IN RE: YAHOO! INC. CUSTOMER DATA              )    No. 16-md-02752-LHK
20 SECURITY BREACH LITIGATION                    )
                                                 )    PLAINTIFFS’ NOTICE OF MOTION
21                                                    AND MOTION FOR PRELIMINARY
                                                 )    APPROVAL OF CLASS ACTION
22                                               )    SETTLEMENT
                                                 )
23                                                    Date:      November 29, 2018
                                                 )
                                                      Time:      1:30 p.m.
                                                 )
24                                                    Courtroom: 8, 4th Floor
                                                 )
                                                      Judge:     Hon. Lucy H. Koh
25                                               )
                                                 )
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 1         PLEASE TAKE NOTICE THAT Plaintiffs move the Court to grant Plaintiffs’ Motion for

 2 Preliminary Approval of Class Action Settlement. Hearing on this motion will be held on

 3 November 29, 2018, at 1:30 p.m., in Courtroom 8, located at the Robert F. Peckham Federal

 4 Building & United States Courthouse, 280 South First Street, Fourth Floor, San Jose, California.

 5         Plaintiffs bring this Motion pursuant to Federal Rule of Civil Procedure 23(e). Plaintiffs

 6 respectfully request that the Court preliminarily approve the parties’ Settlement Agreement and

 7 for entry of an Order that:

 8                Grants class certification of the following proposed settlement class under Fed. R.
 9                 Civ. P. 23(b)(2) and (b)(3):

10                        All U.S. and Israel residents and small businesses with Yahoo

11                        accounts at any time during the period of January 1, 2012 through

12                        December 31, 2016, inclusive; provided, however, that the

13                        following are excluded from the Settlement Class: (i) Defendants,

14                        (ii) any entity in which Defendants have a controlling interest, (iii)

15                        Defendants’ officers, directors, legal representatives, successors,

16                        subsidiaries, and assigns; (iv) any judge, justice, or judicial officer

17                        presiding over this matter and the members of their immediate

18                        families and judicial staff; and (v) any individual who timely and
19                        validly opts-out from the Settlement Class.

20                Preliminarily approves the proposed settlement as fair, reasonable, and adequate;
21                Directs notice to be disseminated to Settlement Class Members in the form and
22                 manner proposed by the parties as set forth in the Settlement Agreement and

23                 Exhibits thereto;

24                Sets deadlines for class notice to be sent and deadlines for exclusions;
25                Appoints Heffler Claims Group to serve as the Settlement Administrator;
26                Appoints as Settlement Class Representatives: John Bell, Michelle Bouras, Jana
27                 Brabcova, Reid Bracken, Paul Dugas, Hashmatullah Essar, Hilary Gamache, Mali

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     PLTFS’ NOT. OF MOT. & MOT. FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
     16-md-02752-LHK                                                                                -1-
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 1                 Granot, Kimberly Heines, Andrew J. Mortensen, Brian Neff, Jared Pastor,

 2                 Brendan Quinn, Deana Ridolfo, Matthew Ridolfo, and Yaniv Rivlin.

 3                Appoints as Class Counsel:
 4                     o Lead Settlement Class Counsel: John Yanchunis of Morgan & Morgan

 5                         Complex Litigation Group;

 6                     o Executive Settlement Class Counsel: Ariana Tadler of Milberg Tadler

 7                         Phillips Grossman LLP, Stuart Davidson of Robins Geller Rudman &

 8                         Dowd LLP, Gayle Blatt of Casey Gerry Schenk Francavilla Blatt &

 9                         Penfield LLP, and Karen Hanson Riebel of Lockridge Grindal Nauen

10                         PLLP; and,

11                     o Additional Settlement Class Counsel: Daniel Robinson of Robinson

12                         Calcagnie, Inc.; and,

13                Sets a hearing date and schedule for final approval of the settlement and

14                 consideration of Class Counsel’s motion for award of fees, costs, expenses, and

15                 service awards.

16          Plaintiffs’ Motion is based on this Notice and Motion; the accompanying Memorandum

17 of Points and Authorities and all attachments and supporting exhibits thereto (including the

18 Declaration of John A. Yanchunis and the Settlement Agreement), and the pleadings, records,
19 and other papers filed in this action. The parties have agreed to the following deadlines:

20    Notice Date:                            45 Days from the Preliminary
                                              Approval Date
21
      Opt-Out and Objection Deadlines:        120 Days from the Notice Date
22
      Motion for Final Approval:              150 Days from Notice Date
23

24    Motion for Service Awards,              21 Days before the Opt-Out and
      Attorneys’ Fees and Costs:              Objection Deadline
25
      Claims Period:                          270 Days after the Preliminary
26                                            Approval Order
27    Final Approval Hearing
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     PLTFS’ NOT. OF MOT. & MOT. FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
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 3
     DATED: October 22, 2018                MORGAN & MORGAN
 4                                          COMPLEX LITIGATION GROUP
                                            John A. Yanchunis
 5
                                            s/ John A. Yanchunis
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 5                                          drobinson@robinsonfirm.com
 6                                          Attorneys for Plaintiffs and Proposed Class
                                            Counsel
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     PLTFS’ NOT. OF MOT. & MOT. FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
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 1                                   CERTIFICATE OF SERVICE

 2         I hereby certify that October 22, 2018, I authorized the electronic filing of the foregoing

 3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 4 to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify

 5 that I caused to be mailed the foregoing document or paper via the United States Postal Service

 6 to the non-CM/ECF participants indicated on the attached Manual Notice List.

 7         I certify under penalty of perjury under the laws of the United States of America that the

 8 foregoing is true and correct. Executed on October 22, 2018.

 9                                                   s/ John A. Yanchunis
                                                     John A. Yanchunis
10
                                                     MORGAN & MORGAN
11                                                   COMPLEX LITIGATION GROUP
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